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           MASTER SERVICE AGREEMENT

                    THIS MASTER SERVICE AGREEMENT (this "Agreement") is made as of October 14, 2022 (the
           "Effecti ve Date") by and between Student Resource Center, LLC ("SRC") and the educational institution
           identified below (the "Institution" and together with SRC, each a ''Party" and collectively, the " Parties").

                   WHEREAS, the Institution is an accredited, degree-granting institution of higher education that
           provides certain academic degree program(s) as specified in each Statement of Work (as hereinafter
           defined) entered into by the Parties under this Agreement (collectively, the "Educational Programs"); and

                    WHEREAS, SRC provides certain bundled services to higher learni ng institutions to identify and
           support students (collectively, the "Students") and the Instituti on desi res to retain SRC to provide such
           se rvices on the terms and conditions of this Agreement.

                  NOW, THEREFORE, in consideration or the mutual covenants, terms, and conditions set fo rth
           herein and for good and valuable consideration, the receipt and sufficiency of which are hereby
           acknowledged, the parties agree as follow:

                   Section 1.       The Services; Statement~ of Work.

                           l. l     SRC shall provide to the Institution, a collection of "bundled services" (as such
                   te1m is descri bed more fully in DCL Gen 11-05 (March 201 1), and any successor Educational
                   Laws) that are specifically set forth in statements of work (collectively, the "Services") to be issued
                   by the Institution to SRC ( each a "Statement of Work"). Each Statement of Work shall be in the
                   form attached hereto as Exhibit A,_and shall only be deemed accepted by the Parties if executed by
                   an authorized representative of each Party. In the event of any inconsistency between a Statement
                   of Work and this Agreement, the terms of this Agreement shall contro l.

                            1.2     The Parties understand and agree Lhat the Services shall not, and are not intended
                   to, include activities of a "third-party servicer" as that term is defined at 34 C.F.R. § 668.2 ("Third
                   Party Servicer"), or to subject SRC or this Agreement to requirements under Educational Laws
                   applicable to third-party scrviccrs.

                            1.3       Excluded Services. Notwithstanding any other provision of this Agreement, the
                   Parties expressly acknowledge and agree that the [nstitution shall be solely responsible for, and
                   wi ll provide and perform at its sole cost and expense during the Agreement Term, all acLiviLies
                   that relate Lo all academic, academic personnel, and academic-related operational decisions with
                   respect to the Institution, to the Educational Programs and courses offered by Institution, and to
                   the educational activities conducted by Institution, as well as suc h other roles and responsibilities
                   as may be required to be performed solely by Institution under Laws and Educational Laws
                   (including requirements of Accrediting Bodies and Educational Agencies) (the " Institution Core
                   Functions"), which shall be carried out, in each case, by the Institution in accordance with Law,
                   Educational Laws and existing collective bargaining ag reements. For the avoidance of any doubt,
                   SRC shall have no responsibility for the performance or oversight of any Institution Core
                   Func tions. In addition to the Institution Core Functions, which the Parties agree are expressly
                   reserved Lo the Institution, the Parties may agree to exclude certai n other services from the
                   Services, which together with the lnstitution Core Functions, shall be set forth in more detail on
                   each applicable Statement of Work (collectively, the "Excluded Services").

                                                                                                                DEFENDANT'S
                                                                                                              '   EXHIBIT



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                          1.4     Notwi thstanding anything to the contrary contai ned herein, the Parties agree that
                 the Services shall be performed without access by SRC to the following databases: (i) USDE data
                 bases including, but not limited to: Common Orig ination and Disbursement (COD); GS; FAA
                 Access; Central Processing System (TPS); National Student Loan Data System (NSLDS);
                 Integrated Postsecondary Education Data System (IPEDS); or Fiscal Operations Report and
                 Application to Participate (FISAP); and Electronic Application for Approval to Participate in
                 Federal Student Financial Aid Programs (e-App) and (ii) the Institution's Student Information
                 System.

                 Section 2.       SRC Obligations.

                        2. 1    SRC shall provide the Services in a commercially reasonable manner (a) in
                 accordance with the terms and conditions set forth in the applicable Statement of Work and thjs
                 Agreement, (b) using personnel or sufficient skill, experience and qualifications, and (c) in a
                 workmanlLke and personally m anner.

                          2.2      SRC Insurance. SRC shall, at its own expense, at all times during the term of the
                 Agreement and for a period of two years thereafter, maintain: (a) commercial general liability
                 insurance (including without limitation coverage for contractual liability) against claims for
                 bodily injury death and property damage, with limits of not less than $2,000,000 per occmTencc
                 and i n the aggregate and naming the Institution as an additional insured; (b) network risk and
                 eyber liability insurance coverage (includ ing coverage for unauthorized access, failure of
                 security, breach of privacy perils, as well as notification costs and regulatory defense) for
                 disclosures and/or breaches arising out of or re lated to services provided by SRC during the term
                 of this Agreement.

                          2.3      SRC Data Breach Obligations. SRC shall use commercially reasonable
                 administrative, physical and tech nical safeguards and security practices designed to protect the
                 Confidential ln[onnation from unauthorized access, disclosure, acquisition, destruction, use or
                 modification. In the event of an unauthorized release, disclosure or acquisition o f information that
                 compromises the security, confidentiality or integrity of Confidential Information maintained or
                 held by SRC ("Data Breach"), SRC shall use best e fforts to provide notification to Institution w ithin
                 seventy-two (72) hours of discovery of the incident. Said notification shall include ( l) the types of
                 Confidential Information that were or are reasonably believed to have been the subj ect of the
                 breach, including a listing of any affected individuals, (2) if known, the date of the breach, the
                 estimated date of the breach or the date range within which the breach occurred, and (3) a general
                 description of the incident. SRC agrees to comply with all federal and state requirements with
                 respect to a data breach, including, when appropriate or requ ired, the required responsibilities and
                 procedures for notification and miti gation of any such data breach. In the event of a Data Breach
                 that is attributable to SRC, SRC shall reimburse and indemnify Institution for any and all costs and
                 expenses incurred by Institution in investigating and remediating the Data Breach, including but
                 not limited to ( I ) costs and ex penses associated wi th providing notification to affected parties
                 whose information was compromised, (2) providing credit mon itorin g to those parties who have a
                 reasonable belief the Data Breach may impact their credit or financial security, and (3) legal fees,
                 audit costs, fines and any other fees or damages imposed as a result of the Data Breach.

                         2.4      Information and Access.

                                  (a)     SRC will s ign and require such personnel and agents to sign
                          nondisclosure agreements acceptable to the Institution before any such access or
                          information is provided.

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                                 (b)      SRC shall promptly provide notice to the Institution regarding matters
                         referenced on Schedule A after SRC receives information regarding any development that
                         is reasonably likely to impact SRC's performance under this Agreement.

                                 (c)      SRC shall promptly, when requested by the Institution in writing,
                         provide to the Institution access to information and documentation necessary to
                         substantiate that SRC offered each of the Services contained in any past or current
                         Statement of Work.

                 Section 3.      Institution Obligations.

                       3.1     T he Institution shall not report or characterize SRC as a Third Party Servicer to
                 USDE or any other governmental authority.

                         3.2     Informati.on and Access.

                                   (a)   The Institution shall, during the Agreement Term and subject to the
                         requirements of Laws and Educational Laws (i ncl uding, but not limited to, Title IV, HEA
                         and FERPA), use commerc.ially reasonable efforts to make available to SRC on a timely
                         basis after SRC's reasonable request all agreement-related financial data and information
                         within the Institution's reasonable control, and provide access to SRC's authorized
                         personnel and agents during normal business hours, to the extent necessary for SRC to
                         prepare its monthly, quarterly, and annual financial statements and reports (including as
                         necessary for independent audit testing and certification or response to credit facility
                         institutio ns).

                                  (b)     The Institution will (a) if requested by SRC in writing, promptly provide
                         to SRC a reg ulatory compliance report reflecting (i) the ongoing status of any Educational
                         Approvals being sought by, or obtained by, the Institution in order for the Institution to
                         offer any of the Educational Programs as they pertain to SRC, (ii) any material
                         noncompliance with all Accrediti ng Body (as hereinafter defined) standards and any other
                         require ments relating to or administered by any Educational Agency or relating to any
                         financial aid program, grants or loans, institutional subsidies, including all statutory and
                         regulatory provisions related to the Title IV Program related to any of the Educational
                         Programs or the Services (collectively, the " Educational Laws''), and (iii) the existence and
                         status of any review, audit, investigation, or adverse action by any Educational Agency or
                         Governmental Authority related to the Institution, any Educational Program, or the
                         Services; and (b) promptly provide to SRC the Institution's annual financial and Title IV
                         Programs compliance audits conducted pursuant to 34 C.F.R. §668.23(b) as and when
                         s ubmitted to USDE.

                 Section 4.      Mutual Obligations.

                         4.1     Information and Access.

                                  (a)      The Parties agree that SRC's liability for any failure to perform, or for
                         the late performance of, any Services to the extent such Services require data,
                         information or other materials possessed, prepared or generated by the Institution, or
                         access to be provided to SRC's authorized personnel, shall be reduced to the extent the
                         Institution's failure to provide or make available the same to SRC in accordance with
                         SRC's reasonable written or oral (if promptly confirmed in writing) requests, and such


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                         failure by the Institution directly or indirectly causes SRC's lack of or delay in
                         performance.

                                  (b)       Each Party shall give prompt notice to the other of (i) the occurrence or
                         non-occurrence of any event that results in the breach of this Agreement, (ii) any notice
                         or other communication from any Person alleging that the authorizatio n, license, permit,
                         consent, waiver or approval of such Person is or may be required in connection with this
                         Agreement and the transactions contemplated hereby, (iii) any notice or other
                         communication from any Governmental Authority or Educational Agen.c y in con nection
                         with this Agreement and the services contemplated hereby, and (iv) any fac t, event,
                         change, development, circumstance or effect occurring after the date hereof (or of which
                         it became aware after the date hereof) that has caused or could reasonably be expected to
                         cause material reputational harm to the Educational Programs or the Parti es hereto. If a
                         Governmental Authority, Educational Agency, or third paity files any type of claim, or
                         commences an investigation, adverse action, review or audit agai nst a Party or one of its
                         affiliates related, in whole or in part, to this Agreement, the Services or the Excl uded
                         Services, such Party shall provide prompt noti ce to the other Paity of the c:laim,
                         investigation, adverse action, review or audit, shall use commercially reasonable efforts
                         to cooperate with each other's defense, and each Party shall provide the other Party with
                         copies of all materi.al correspondence w ith such Governmental Authority, Educational
                         Agency or third party in connection with such claim, investigation, adverse action,
                         review or audit.

                           4.2     Prohibited Actions. Notwithstanding any other provision of this Agreement, the
                 Parti es expressly acknowledge and agree not to undertake any of the following actions without
                 the prior written consent of the Parties, unless required by the Institution's governing body,
                 Educational Agency or Governmental Authority and to the extent permitted by Law and
                 Educational Laws :

                                  (a)       Tuition and Discounts. The Parties acknowledge and agree that
                         Institution at all times shall retain absolute authority to determine tuition and fee levels,
                         studen t discounts and scholarshi ps. Notwithstanding the foregoing, if Institution,
                         including as part of the annual budgeting process as outlined in the Statement of Work,
                         imposes any decreases in Student tuition or fees or increases in Student discounts or
                         scholarships that wou ld impact the Operating Income in a Fiscal Year (which shall be
                         aligned with Institution's fiscal year), the Institution wi ll notify SRC o f any institutional
                         enterprise tuition increases to all students annual; as well as, obtain prior written consent
                         from SRC to such action where it impacts only SRC students (such agreement not to be
                         unreasonably withheld, conditioned or delayed) making expe nditures in type or amount,
                         or make or roll out new Educational Programs, other than in accordance with the Budget;

                                 (b)      making any material change in the nature of the Services;

                                   (c)     taking any action to initiate, settle or defend legal Actions on behalf of
                         itself or the Other Party that could reasonably be expected Lo result in financial liability
                         for either Party; or

                                (d)       taking any action that could reasonably be expected to adversely affect in
                         any materi al respect the tax liabilities or tax and financial reporting posi tions of each Party.




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                 Section 5.      Consideration and Expenses.

                         5.1      Payment for Services. The Institution shall pay SRC such amounts as set forth in
                 the applicable Statement of Work.

                         5.2     Budget. Payment of expenses incurred by each Party in connection with the
                 Services shall be paid as set forth in each applicable Statement of Work in accordance with the
                 operating and capital budget for the Services set forth in the Statement of Work. Each Party shall
                 be responsible for payment of all expenses incurred by such Party that are not set forth in such
                 budget.

                 Section 6.      Representations and Warranties.

                                 (a)     Representations and Warranties of the Institution . The Institution
                         represents and warrant to SRC as follows:

                                            (i)      Organization and Good Standing. The Institution is duly
                                   incorporation or formed and valid existing and in good standing under the laws
                                   of the State of its jurisdiction, with all requisite corporate or similar power and
                                   authority to carry on the business in which it is engaged and to execute, deli ver,
                                   and perform its obligations under this Agreement and to consummate the
                                   transactions contemplated hereby. The Institution is validly qualified to business
                                   in in each jurisdiction where failure to be so qualified would have an adverse
                                   effect on the Institution.

                                            (ii)     Authorization and Validity. The execution and delivery by the
                                   Institution of this Agreement, and the consummation of the transactions
                                   contemplated hereby have been approved and duly authorized and no other
                                   organizational approvals are necessary lo properly authorize such transactions.
                                   This Agreement has been duly executed and delivered by the Institution and,
                                   assuming the due authorization, execution, and delivery thereof by SRC
                                   constitutes a valid and binding obligation of the Institution, enforceable against
                                   the Institution in accordance with its terms.

                                            (i.ii)   Consents. No authorization, consent, approval, permit or
                                   license, or filing with, any Governmental Authority, Education Agency, or any
                                   other Person is required to authori ze the transactions contemplated by this
                                   Agreement, or is required in connection with the execution, delivery, and
                                   performance of the obligations under this Ag reement.

                                            (iv)     Educational Approvals. The Institution has received all (A)
                                   approvals, authorizations, certificates, licenses, permits, consents, exemptions,
                                   registrations, or similar approvals issued or required to be issue by an
                                   Educational Agency in connection with the operation of any post-secondary
                                   ed ucational institution or program or for the participation of such institution in
                                   any Student Financial Assistance Programs, including Title IV Programs
                                   (collectively, the "Educational Approvals"). The fnstitution is in good standing
                                   with each Person, Accrediting Body, and Educational Agency.

                                         (v)      No Violation. Neither the execution and performance of this
                                   Agreement, nor the consummation of the transaction contemplated hereby, will


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                             directly or indirectl y (with or without Notice or lapse of time): (A) contra vene,
                             conflict with, or result in a violation of (1) any provision of the organizational
                             documents of the Institution, or (2) any resolution or policies of the Board of
                             Trustees of the Institu tion or s imilar governing body, (B) contravene, conflict
                             with, or result in a violation or breach of any provision of, or give any Person
                             the right to declare a default of exercise any remedy under, or to accelerate the
                             maturity or performance of, or to cancel, terminate, modify, any material
                             contract, license, or pennit of the Jnstitution. The Institution is not in material
                             violation of any Law or Educational Law of any Governmental Authority or
                             Educational Agency that wo uld reasonably impact the Institution' s performance
                             under this Agreement, incl uding but not limited to the tuition pricing, discounts,
                             scholarships and other charges and benefits provided by the Institution to
                             Students.

                                      (vi)    Clai ms and Proceedings. No formal or informal inquiry, action
                             or proceeding has been asserted, instituted, or to the knowledge of the Institution,
                             threatened against the Institution which would prohibit or would reasonably be
                             expected to prohibit or challenge the validity of the transactions contemplated
                             by this Agreement or any part thereof or resulting in any Person seeking damages
                             on account thereof. No proceeding for the suspension or cancellation of any
                             Educational Approval is pending or, to the knowledge of the Institution,
                             threatened. The Institution has not received any notice that any Educational
                             Approval will not be renewed, the Institution has no knowledge of any basis for
                             non-renewal, and the Ins titution has no knowledge of any threatened or pendi ng
                             in vestigation, audit, inquiry (whether formal or informal) or review of any
                             Educational Approval.

                                       (vii)   Institution Content. T he lnstitution has the authority to grant
                              SRC a license to use its intellectual property in connection with the Services and
                              such intellectual property does not infringe any patent, copyright, or other
                              proprietary right or violate or misappropriate a trade secret or any of the
                              Institution's personnel or any other Person.

                            (b)     Representations and Warranties of SRC.

                                      (i)     Organization and Good Standing. SRC is duly incorporation or
                             formed and val id existing and in good standing under the laws of the State of its
                             jurisdiction, with all requisite corporate or similar power and authority to carry
                             on the business in whi ch it is engaged and to execute, deliver, and perform its
                             obligations under this Agreement and to consummate the transactions
                             contemplated hereby. SRC is validly qualified to business in Missouri and in
                             each other jurisdiction where failure to be so qualified would have an adverse
                             effect on the Institutio n.

                                       (ii)    Authorization and Validity. The execution and delivery by
                              SRC of this Agreement, and the consummation of the transacti ons contemplated
                              hereby have been approved and duly authorized and no other organizational
                              approvals are necessary lo properl y authorize such transactions. This Agreement
                              has been duly executed and de li vered by S RC and, assuming the due
                              authori zation, execution, and delivery thereof by the Insti tution constitutes a



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                                    valid and binding obligation of SRC, enforceable against SRC in accordance
                                    with its terms.

                                             (iii)    Consents. No authorization, consent, approval, permit or
                                    license, or filing with, any Governmental Authority, Education Agency, or any
                                    other Person is requi red to authorize the transactions contemplated by this
                                    Agreement, or is required in connection with the execution, delivery, and
                                    performance of the obligations under this Agreement.

                                             (iv)     _Approvals. SRC has received all (A) approvals, authori zations,
                                    ce11ificates, licenses, permi ts, consents, exemptions, registrations, or similar
                                    approvals issued or required to be issued to SRC in connection with SRC's
                                    authorizati on to do business, the performance of the Service and/or the Scope of
                                    Work by SRC .

                                             (v)      No Violation. Neither the execution and performance of this
                                    Agreement, nor the consummation of the transaction contemplated hereby, will
                                    directly or indirectly (with or without Notice or lapse of time): (A) contravene,
                                    conflict with, or result in a violation of (1) any provision of the organizational
                                    documents of the SRC, or (2) any resolution or policies of members or managers
                                    of SRC or similar governing body, (B) contravene, conflict with, or result in a
                                    vio lation or breach of any provision of, or give any Person the right to declare a
                                    default of exercise any remedy under, or to accelerate the maturity or
                                    performance of, or to cancel, terminate, modify, any material contract, license,
                                    or permit of SRC. SRC is not in violation of any material Law or Educational
                                    Law of any Governmental Authority or Educational Agency that would
                                    reasonably impact SRC's pcrfom1ancc under this Agreement.

                                             (vi)   Claims and Proceedings. Except as disclosed in Schedule A, no
                                    formal or informal inquiry, action or proceeding has been asserted, instituted, or
                                    to the knowledge of SRC, threatened against SRC which would prohi bit or
                                    would reasonably be expected to prohibit or challenge the validity of the
                                    transactions contemplated by this Agreement or any part thereof or resulting in
                                    any Person seeking damages on account thereof.

                                             (vii)    Content. SRC has the authori ty to grant the Institutio n a license
                                    to use its intellectual property in connection with the Services and such
                                    intellectual property does no t infringe any patent, copyright, or other proprietary
                                    right or violate or misappropriate a trade secret or any of SRC's personnel or any
                                    other Person.



                 Section 7.       Compliance with Laws.

                          7.1      General. At all times dming the Agreement Term, the Parties shall comply with
                 all laws, statutes, rules, regulations, ordinances, orders, codes, judgments, decrees or other legally
                 binding requirements of any Governmental Authority (collectively, "Laws") and with all
                 Educational Laws that apply to such Party's performance under this Agreement and the conduct
                 of such Party's business, and the Institution shall be required to maintain in full force and effect
                 all Educational Approvals. For the avoidance of doubt, SRC shall not be responsible or liable for


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                 Institution's compliance with Educational Laws, except to the extent that Institution's failure to
                 comply with Educational Laws arises from SRC's acts or omissions or fail ure to provide specific
                 Serv ices expressly set forth herein or in a Statement of Work or Services Addendum.

                           7.2     Institution's Educational Agency Compliance. The Institution shall maintain in
                 full force and effect, as required for the offering of the Educational Programs, all Educationa l
                 Approvals and maintain compliance with all Laws and Educational Laws, including but not
                 limi_ted to the Institution's tuition pricing, discounts, scholarsh ips and other charges and benefits
                 provided by the Institution to Students.

                          7.3     Marketing Laws and Regulations: No Misrepresentation. The Parties agree to
                 compl y, in all material respects, with all Laws and Educational Laws concerning consumer and
                 student marketing, including the USDE misrepresentation regulations (34 C.F. R. §668. 7 l -
                 75), the CAN-SPAM Act of 2003, the Telephone Consumer Protection Act, the Telemarketing and
                 Consumer Fraud and Abuse Prevention Act, the Telecommunications Act, and Section 5 of the
                 Federal Trade Commission Act and any regulations promulgated thereunder. Any communications
                 with prospecti ve students shall follow scripts or use advertising or web materials approved by the
                 Institution. The Parties shall use their best efforts to cause all of their respective subcontractors to
                 ensure that they are and shall remain in full compliance with all of the foregoing Laws and
                 Ed ucational Laws and, upon the request of the Party, subcontractors will provide documentation of
                 same to the other Party.

                          7.4      Incentive Compensation Rul e. lt is the intent of the Parties to be in full
                 compliance with the Incentive Compensation Rul e. The Parties have considered the Payment for
                 Services as set forth in Section 5.1 of this Agreement and each Statement of Work entered into in
                 connection therewith and agree that such Payment for Services arc in full compliance with the
                 Incenti ve Compensation Rule. To the extent that this Agreement or any part thereof is found by
                 any Educational Agency or other Governmental Authority to conflict with the Incentive
                 Compensation Rule in any material way, the Patties shall immediately renegotiate in good faith
                 reasonable new provisions to eliminate such conflict and restore this Agreement as nearly as
                 possible to its original intent.
                            7.5    Family Educational Rights and Privacy Act. SRC and the Institution acknowledge
                 that, in the course of performing certain of the Services required under thi s Agreement, it may be
                 necessary for SRC to have access to certain personally identifiable information. Such access will
                 be permitted only to the extent permitted by Family Educational Rights and Privacy Act and/or any
                 other s imilar Laws and Educational Laws related to privacy. The Parties contemplate that the
                 Institution will provide SRC with access to the National Student Clearing House and agree that in
                 providing such access SRC shall be treated as a "school official" to which it is outsourcing
                 institutional services or functions for which the Institution would otherwise use employees. The
                 Parties agree to maintain, secure and use (and to cause thei r respective employees, agents, vendors
                 and subcontractors to maintain, secure and use) all such personally identifiable information in
                 material compliance with the requirements of al l such Laws, including the requirements or 34
                 C.F.R. 99.31 (a)( I) with respect to information protected by FERPA that may be disclosed to a party
                 to whom an institution has outsourced institutional services or functions. The Parties agree that
                 SRC may make disclosures of personally identifiable information of the Institution's Students and
                 prospective students to its employees, agents, vendors and subcontractors only to the extent
                 necessary for the performance of the Services and only if SRC requires such employees, agents,
                 vendors and s ubcontractors to comply with applicable provisions of FERPA and other applicable
                 Laws and Education Laws related to privacy of student information and shall ensure that it has
                 writte n agreements confirming the same. SRC shall further disclose all vendors and subcontractors

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                   wi th access to personally identifiable information to the Institution in writing in advance of any
                   suc h access.

                    Section 8.        Confidentiality. From time to time during the Agreement Term, either Party (as
           the " Disclosing Party..) may disclose or make availab le to the other Party (as the '"Receivi ng Party"), non-
           p ublic, proprietary, and confidential information of Disclosing Pttrty, whether orally or in written form ,
           ("'Confidential Information"); provided, however, that Confidential Information does not include any
           information that: (a) is or becomes generally available to the public other than as a re sult of Receiving
           Party's breac·h of thi s Section 8 is or becomes avai lable to the Receiving Pa rty on a non-coi1fidential basis
           from a third-party source, provided that such third pm-ry is not and was not prohibited from disclosing such
           Confidential Information; (c) was in Receiving Party's possession prior to Disclosing Party's disclosure
           hereunder; or (cl) was or is independently developed by Receiv ing Party without using any Confidential
           Information. The Receiving Party shall: (x) protect and safeguard the confide ntiality of the Disclosing
           Party's Confidential information with at least the same degree of care as the Receiving Party wou]d protect
           its own Confidential lnformation. but in no event with less than a commercially reasonahle degree of care:
           (y) not use the Disclosing Party's Confidential Information, or permit it to be accessed or used. for any
           p urpose other than to exercise its rights or perform its ob.ligations under this Agreement; and (z) not disclose
           a ny such Confidential Information to any person or entity. except to the Receiving Party's Group who need
           to know the Confidential Information to assist the Receiving Party, or act o n its behalf, to exercise its rights
           or perform its obligations under this Agreement. Notwithstanding the foregoing. a Party may disclose
           Confidential Information in o rder LO comply with any applicable Law or Educational Law, regulation. or
           any audit, inquiry, investigation by any Governmental Authority or Educational Agency, provided that prior
           to disclosure and to the extent legal ly permissible. the Disclosing Party notifies the other Party of such
           disc.losure a nd uses reasonable efforts to limit such disclosure. The foregoing obligati ons arc in addition to
           and not in limitation ofSRC's obligations under Section 7.5.

                    Section 9.         Noncompetition; Nonsolicitation. At all times during the Agreement Term, the
           Institution sh all not, without the prior written consent of SRC:

                           9.1      take any ac tion to obtain services that are si milar to the Services provided
                   hereunder by SRC to its channel partners (i.e., unions, union benefits management companies
                   union-affiliated associations and trade groups and affinity groups) from any third party, except in
                   the normal course of uni versity business as it pertains to local , state, and regional opportunities;
                   and for the avoidance of any doubt, SRC shall re tain the right to perform the same or similar
                   services to any other institution of higher learning;

                            9.2      it will not take any action or use any of SRC's confidential information to, d irectly
                   or indirectly, solicit any unions or contact any prospective stude nts belonging to any union in any
                   manner that inte1Tupts, disturbs, interferes, or circumvents the objectives ofSRC's relationship with
                   suc h union or prospective students or potentiall y interrupts, disturbs, interferes, or circumvents wi th
                   such relationships, including using Prospective Student Inquires (as defi ned below in Section
                   15. 10) to circumvent SRC or inducing any stude nts to terminate. or breach its contractual or other
                   relationship wi th S RC without obtaining the prior written consent of SRC, directly or indirectly.
                   solicit for employment or otherwise induce, influence. or encourage any employee of SRC to
                   terminate his or her employment with SRC.

                   Section IO .      Intellectual Property.

                            .JO. I  SRC Inte llectual Property. All inte llectual property rights, including copyrights,
                   patents, patent di sclosures and inve ntions (whether patentable or not), trademarks, service marks,
                   trade secrets, k now-how and other confidential information, trade dress, trade names, logos,


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                 corporate names and domain names, together with all of the goodwill associated therewith,
                 derivative works and all other rights (collectively, Intellectual Property Rights") in and to all
                 documents, work product and other materials that are delivered to the Institution under this
                 Agreement or prepared by or on behalf of the in the course o f performing the Services, including
                 any items identified as such in the Statement of Work (collectively, the " Deliverables") shall be
                 owned by SRC. SRC hereby grants the lnstitution a license to use all Intellectual Property Ri ghts
                 in the Deliverables free of additional charge and on a non-exclusive, non-trnnsferable, non-
                 sublicensable, fully paid-up, roya lty-free and perpetual basis to the extent necessary to enable the
                 Institution to make reasonable use o f the Deliverables and the Services.

                           10.2   institution Intellectual Property. The Institution and its licensors are, and shall
                 remain, the sole and exclusive owner of all right, title, and interest in and to all lntellectual Property
                 Rights belonging to the lnstitution therein (the "Institution Materials"). SRC shall have no right or
                 license to use any Institution Materials except solely during the Agreement Term to the extent
                 necessary to provide the Services. The Institution hereby grants SRC a license to use its Intellectual
                 Property Rights in connection with the provision of Services under this Agreement, free of
                 additional charge and on a non-exclusive, non-transferable, non-sublicensable, fully paid-up,
                 royalty-free basis during the term of this Agreement and to the extent necessary enable SRC to
                 perform its Services hereunder; provided any use of trademarks or logos are subject to the
                 Institution's prior consent during the annual Market materials template review. Without limiting
                 the foregoing, it is understood and agreed that the Institution has developed a scholarship matrix
                 that is unique and proprietary to Institution and that is critical to Institution; in no event will SRC
                 or any subcontractors be permitted to use the matrix or any information developed or arising from
                 the matrix in any manner other than solely to perform the Services under this Agreement.

                 Section 11.      Term and Termination.

                         11.1      Term. This Agreement shall commence as of the Effective Date and shaJI continue
                 thereafter until the completion all of the Services under all outstanding Statements of Work, unless
                 sooner termination in accordance with Section 9.2 (the "Agreement Term").

                         11.2     Termination. This Agreement and any o utstanding Statement of Work may be
                 terminated (a) upon the mutual written agreement of the Parties, (b) by either Party for a material
                 breach of any of the terms hereor ii' such breach is not cured within sixty (60) days following written
                 Notice of such breach to the defaulting Party or (c) if voluntary or involuntary proceeding by or
                 against the other Party under any bankruptcy or insolvency law, or a receiver or custodian is
                 appointed for such Party, or if such Party makes an assignment for the benefit of creditors; or (d)
                 by either Party with 9 months' notice prior to the end of the 5'" anniversary of the effective date of
                 the contract.

                          I 1.3    Effect of Termination.

                                    (a)      Upon termination, the Institution shall pay all amounts under Section 5 for
                          Services rendered by SRC up through the date of the termination or expiration, provided
                          that the Insti tution shall owe SRC additional payments for Services rendered during a
                          Teach Out Period as provided in subsection (b). The rights and obli gations of the Parties
                          set forth in Sectio n 8, Section 13, Section 14, Section 16 and this Section 11.3, and any
                          right or obligation of the Parties in this Agreement which, by its nature, should survive
                          termination or expiration of this Agreement, will survive any such termination or expiration
                          of th is Agreement.



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                                    (b)      Jfthis Agreement is terminated, each of the Parties shall negotiate in good
                           faith and enter into a transition services agreement under which SRC shall continue to
                           provide Services (inducting all agreed upon operating costs, reduced as contemplated in
                           this section) to the Institution, on terms and conditions substantially similar to the tenns
                           and conditions set forth in this Agreement and existing as of immediately prior to such
                           termination, until the final date in which the Institution offers any of the Educational
                           Programs to any of the Students who are or were enrolled (including returning Students)
                           pursuant to the Agreement in any Educational Program prior to termination or expiration
                           of this Agreement (the "Teach Out Period") . Without limiting the foregoing, all Operating
                           Expenses (as defined in each Statement of Work) to either Party and amounts due for
                           Services to SRC duri ng the Teach Out Period shall be paid in accordance with each
                           Statement of Work, provided that SRC's management fees and operating expenses shall be
                           reduced propo1tionately as the SRC Teach-Out population decreases over time and the
                           transition services agreement shall refl ect same. At the expiration of the Teach Out Period,
                           the Parties agree to cooperate and work in good faith to wind down their re lationship and
                           effectuate an orderly transition of the Services, with the goal of minimum interrup ti on to
                           the Institution and the Students ability to complete their Educational Programs with
                           minimal impact on Services.

                   Section 12.      Indemnification. Each Party shall indemnify and hold harmless the other Party
           and all of such Party's officer, directors, employees, agents, successors and permitted assigns (each, an
           "Indemnified Party") from an against all losses, damages, demands, suits, claims, actions, or causes of
           action (each, a "Claim") arising out of or resulting from any claim, suit, action, proceeding, arising out of
           or resulting from: (a) any breach of any representation, warranty or obligation of such set forth in this
           Agreement. Notwithstanding anyth ing to the contrary contained in this Agreement, the indemnifying Pany
           is not obligated to indemnify or defend the other Party against any claim (whether director or indirect) if
           such Claim or corresponding losses ari se out of or result from , in whole or in pa11, such Party's gross
           negligence or more culpable act or omission.

                 Section 13. Disclaimer of Warrantv. EXCEPT AS OTHERWISE PROVIDED IN THIS
           AGREEMENT SRC MAKES NO REPRESENTATION OR WARRANTY OF ANY KIND WITH
           RESPECT TO THE SERVICES, AND HEREBY DISCLAlMS ALL W ARRANTlES, EITHER EXPRESS
           OR IMPLIED, STATUTORY, OR OTHERWISE UNDER THIS AGREEMENT WITH RESPECT TO
           THE SERVICES, AND SPECIFICALLY DISCLAIMS ALL IMPLlED WARRANTIES OF
           MERCHANTABILITY AND FITNESS FOR A PARTICULAR PURPOSE.

                 Section 14. Limitation of Liability. EXCEPT AS PROVIDED BELOW AND EXCLUDING
           ANY INDEMNIFICATION OBLIGATIONS, IN NO EVENT WITH EITHER PARTY'S LIABILITY
           HEREUNDER, ARISING OUT OF OR RELATED TO THIS AGREEMENT, WHETHER ARISING
           OUT OF OR RELATED TO BREACH OF CONTRACT, TORT (INCLUDING NEGLIGENCE), OR
           OTHERWISE, EXCEED TWO TIMES THE AGGREGATE AMOUNTS PAID OR PAYABLE TO SRC
           PURSUANT TO THIS AGREEMENT AND EACH STATEMENT OF WORK IN THE TWELVE ( 12)
           MONTH PERIOD PRECEDING THE EVENT GIVING RISE TO THE CLAIM. NOTWITHSTANDlNG
           THE FOREGOING, THE FOREGOING LIMITATION SHALL NOT APPLY TO (A) DAMAGES OR
           OTHER LIABILITIES ARISING OUT OF OR RELATING TO A PARTY'S FAILURE TO COMPLY
           WITH ITS OBLIGATIONS UNDER SECTION 7, SECTION 8, SECTION 9, OR SECTION 10.

                   Section 15.      Definitions. The following terms shall have the meanings set forth below.

                          15.1   "Accrediting Body" means any entity or organization, whether governmental or
                   government-chartered, private or quasi-private, which engages in the granting or withholding of

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                 accreditation of public and/or private postsecondary institutions or educational programs provided
                 by such institutions in accordance with standards and requirements related to the performance,
                 operations, financial condition or academic standards of such institution.

                           15.2   "Educational Agency" means any Person, Accrediting Body, entity or
                 organization, whether governmental, government chartered, private, or quasi-private, that engages
                 in granting or withholding Educational Approvals for, or otherwise regulates, postsecondary
                 institutions or educational programs provided by such institutions, their agents or employees in
                 accordance with standards relating to performance, operation, financial condition or academic
                 standards of such institutions, and the provision of financial assistance or subsidies to such
                 institutions or students attending such institutions, including but not limited to DOE, any
                 Accrediting Body, the U.S. Department of Veteran 's Affairs, and State Educational Agencies.

                          15.3    "FER PA" means the Family Educational Privacy & Rights Act, 20 U.S.C. § 1232g,
                 and the regulations set forth at 34 C.F.R. Part 99, and any amended or successor statutes or
                 regulations thereto.

                          15.4    "Governmental Authority" means any governmental agency, authority,
                 department, commission, board, bureau, court or instrumentality of the United States, any domestic
                 state, or any foreign country, and any political subdivision or agency thereof, and includes any
                 authority having governmental or quasi-governmental powers, including any administrative agency
                 or commission, bul expressly excludes any Educational Agency.

                          15.5    "HEA'' means the Higher Education Act of I 965, as amended, 20 U .S.C. § I 001,
                 et seq., and any amendments or successor statutes thereto and the regulations promulgated under
                 it.

                          15.6    "Incentive Compensation Rule" shall mean that rule provided in 20 U.S.C. § 1094,
                 34 C.F.R. § 668.14(b)(22), and that guidance promulgated thereto, as in effect during the term of
                 the Agreement, including, but not limited to, Dear Colleague Letter GEN-11-05 (March 17, 2011),
                 and any successor legislation, regulations or guidance, and any analogous state laws or
                 accreditation standards.

                         15.7     "Person" means any i11dividual, partnership, limited liability company,
                 corporation, cooperative, association, joint stock company, trust, joint venture, unincorporated
                 organization, Governmental Authority, Educational Agency, body or entity or any department,
                 agency, or political subdivision thereof.

                           15.8   "State Educational Agency" means any state ed ucational licensing authority,
                 agency, department, board, commission or other body that provides a license, certifi cation,
                 exemption or other authorization necessary for a postsecondary institution (whether its main
                 campus, branch campus, additional location, satellite or other facility thereof) to provide post-
                 secondary education in that state through any means or mechanism, including distance education,
                 and including any approval that is required under applicable state law to offer an educational
                 program in any particular occupational field, to pern1it a graduate of the Institution to obtain
                 professional licensure in that state, or lo participate in any Student Financial Assistance Program
                 in that state.

                           15.9    "Student Financial Assistance Program" means any government-sponsored
                 stude nt financial assistance program pursuant to which student financial assistance, grants or
                 loans are provided to the Institution's students, including but not limited to Title IV Programs.

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                          15. 10 "Prospective Student Inquiries" means all information related to prospective
                 students provided by SRC to the Institutio n; prospective student inquiries shall remain the property
                 of SRC.

                         15.1 I "Title TV Programs" means the programs of federal student financial assistance
                 administered pursuant to Title 1Y of the HEA.

                          15. 12   "USDE " means the U.S . Department of Education.

                 Section 16.       Miscellaneous.

                          16. 1    Amendment. This Agreement and each Statement or Work issued hereunder may
                 not be amended or modified except by an instrument in writing signed by or on behalf of SRC or
                 the Institution .

                          16.2     Force Majeure. No party shall be liable or responsible to the other pany, or be
                 deemed to have defaulted under or breached this Agreement, fo r any failure or delay in fulfilling
                 or performing any term of this Agreement, when and to the extent such failure or de lay is caused
                 by or results from acts beyond the impacted Party's (the "Impacted Party") reasonable control,
                 including without limitation the fo llowing force majeure events (" Force Majeure Events"): (a) ac ts
                 of God; (b) flood, fire, earthquake, , or explosion; (c) war, invasion, hostilities (whether war is
                 declared or not), terrorist threats or acts, riot, or other civil unrest; (d) government order, law, or
                 actions; (e) embargoes or blockades in effect on or after the date of this Agreement; (J) national or
                 regional emergency; (g) strikes, labor stoppages or slowdowns, or other indust1ial disturbances; or
                 (h) other similar events beyond the reasonable control of the Impacted Party1. The Impacted Pa1ty
                 shall give Notice within thirty (30) days of the Force Majeure Event to the other Party, stating the
                 period of time the occurrence is reasonably expected to continue. The affected Party shall use
                 diligent efforts to end the fai lure or delay and ensure the effects of such Force Majeure Event are
                 minimized and shall resume performance of its obligations as soon as reasonably practicable after
                 the removal of the cause.

                          16.3    Independent Contractors. The re lationsh ip between the Parties is that of
                 independent contractors. Nothing contained in this Agreement shall be construed as creating any
                 agency, partnership, joint venture, or other form of j oint enterprise, employment, or fiduciary
                 relationship between the Parties, and neither Party shall have authority to contract for or bind the
                 other party in any manner whatsoever.

                          16.4     Further Assurances. Each party shall, upon the reasonable request of the other
                 party, promptly execute such documents and perform such acts as may be necessary to give full
                 effect to the terms of this Agreement.

                          16.5     Notices. All notices, requests, consents, claims, demands, waivers, and other
                 communications hereunder (each, a " Notice") shall be in writing and shall be deemed lo have been
                 given (a) when delivered by hand (with written confirmation of receipt); (b) when received by the
                 addressee ir sent by a nationally recognized overnight courier (receipt requested); (c) on the date
                 sent by email if sent during normal business hours of the recipient, and on the next business day if
                 sent after normal business hours of the rec ipient or (d) on the third day after the date mailed, by
                 certified or registered mail , return receipt requested, postage prepaid. Such communi cations must
                 be sent to the respective Parties at the addresses and to the Primary Contact indicated in each
                 Statement of Work.



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                            16.6     Third Party Beneficiaries; Assignment. This Agreement is fo r the sole benefit of
                  the parties hereto and their respective successors and permitted assigns and nothing herein, express
                  or implied, is intended to or shall confer upon any other Person any legal or equitable right, benefit,
                  or remedy of any nature whatsoever, under or by reason of this Agree ment. The Parties hereby
                  agree that either Party may assign this Agreement and each Statement of Work issued hereunder or
                  any of such Party's rights contained herein to d irect or indirect subsidiary of such Party, or any
                  affiliate that is under common control with such Party.

                            16.7    Public Announce~ ents. All press releases and public announcements· pertaining
                  the Services or the relationship of the Parties shall be approved by the Parties unless such release
                  is req uired by applicable law or regulation.

                            16.8    Severability. If any term or provision of this Agreement is invalid, illegal, or
                  unenforceable in any j urisdiction, such in valid ity, illegality, or uncnforceabi lity shall not affect any
                  other term or provision of this Agreement or invalidate or render unenforceable such term or
                  provision in any other jurisdiction. Upon such determi nation that any term or other provision is
                  in valid, illegal, or unenforceable, lhe parties hereto shall negotiate in good faith to modify
                  this Agreement so as to affect the original intent of the Parties as closely as possible in a mutually
                  acceptable manner in order that the transactions contemplated hereby be consummated as originally
                  contemplated to the greatest extent possible.

                           16.9    Entire Agreement. This Agreement, together with all Statements of Work and any
                  other documents incorporated herein by reference, constitutes the sole and enti re agreement of the
                  parties to this Agreement with respect to the subject mailer contained herein, and supersedes all
                  prio r and contemporaneous understandi ngs and agreements, both written and oral, with respect to
                  such subject matter. In the event of any conflict between the terms and provisions of this Agreement
                  and any Statement of Work, this Agreement shall control.

                           16.1 0 Governi ng Law and Foru m Selection. This Agreement shall be governed by and
                  construed in accordance with the internal laws of the State of Missouri without giving effect to any
                  choice or conflict of law provision or rule (whether of the State of Delaware or any other
                  jurisdiction) that would cause the applicatio n of L aws of any j urisdictio n other than those of State
                  Missouri. Any legal suit, action, or proceeding arising out of or related to this Agreement or the
                  Services provided hereunder shall be instituted exclusively in the federal courts of the Un ited States
                  or the courts of State of Missouri, in each case located in the County of Callaway, Missour i, and
                  each party irrevocably submits to the exclusive jurisdiction of such courts in any such suit, action,
                  or proceeding. Service of process, summons, noti ce, or other document by mail to such party's
                  address set forth herein shall be effecti ve service of process for any suit, action, or other proceedi ng
                  brought in any such court.

                           16. 11 Counterparts. This Agreement may be executed in counterparts, each of which
                  shall be deemed an ori ginal, but all of which together shall be deemed to be o ne and the same
                  agreement. A signed copy of this Agreement delivered by email or other means of electronic
                  transmission shall be deemed to have the same legal effect as delivery of an original signed copy
                  of this Agreement.

                                                      [Signature page follows. ]




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                 fN WfTNESS WHEREOF, the Parties have executed this Agreement as of the Effecti ve Date.


                                                      STUDENT RESOURCE CENTER



                                                      By:-- - - - - --              -
                                                      Name: Phillip Braithwaite
                                                      Title: CEO, SRC




                                                      WILLIAM WOODS UNIVERSITY



                                                      By: - - - --        ----
                                                      Name: Jeremy Moreland, Ph.D.
                                                      Title: President, William Woods University




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                                                   SCHEDULE A


          USDE has made requests for information from SRC regarding SRC's contract with Eastern
          Gateway Communi ty College ("EGCC") as part of the Department's program review ofEGCC.
          SRC has responded to those requests. The matter remains outstanding and is focused on the Title
          IV Program, Third Party Servicer regulations as they apply to SRC under the EGCC agreement.


          In Student Resource Center, LLC v. Eastern Gateway Community College, Case No. 2:22-cv-
          02653 (S.D. Ohio), on September 12, 2022, Eastern Gateway Community College ("EGCC")
          asserted three counterclaims against Student Resource Center, LLC ("SRC"): (1) declaratory
          judgment - stating that (a) SRC has breached the Collaboration Agreement between SRC and
          EGCC, (b) SRC has been overpaid, and (c) that EGCC is entitled to te1111inate the Collaboration
          Agreement; (2) breach of contract - alleging that SRC has materially breached Sections 2.6(a),
          3.1 , and 8 to the Collaboration Agreement; and (3) unjust enrichment - alleging that SRC has
          received overpayments from EGCC for fiscal years 2019 through 2022.




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                                                  STATEMENT OF WORK

           THIS STATEM ENT OF WORK ("SOW"), adopts and incorporates by reference th e terms and cond itions
           of that certain Master Services Agreement (the "MSA" ), dated [               ), between Student Resource
           Center, LLC ("SRC") and the educational institution identified below (the ''Institution" or "YQ!!" and
           together with SRC, each a "Party" and collectively, the "Parties"). Capitalized terms used but not defined
           in this SOW shall have the meanings sel oul in the Master Agreement

           This SOW shall be effective beginning on [DATE) ("Effective Date") and will remain in effect until the
           fifth (S'h) ann iversary of the Effective Date (the " Initial SOW Term") provided it can be terminated as
           provided in the MSA. There shall be no automatic renewal. The Transactions performed under
           this SOW will be conducted in accordance with and be subject to the te1111s and conditions of this SOW and
           the MSA.

                                                    Scope of SRC Services

           With respect to the Institution, SRC shall, subject to the terms and conditions in the MSA and this SOW,
           provide a specific bundle of marketing, promotional , channel management, student success, career
           development support, and business development and/or support Services (collectively, the "Services"). The
           following list and description represent all of the Services that SRC will provide to the Institution under
           this SOW, with any additional Services or deletions to such Services to be provided in an applicable
           Services Addendum. For clarity, no Services Addendum shall be required for the Services described below;
           however, the Parties may further detail the Services described or add or remove Services in a Services
           Addendum.

          r.       EDUCATIONAL PROGRAMS

           [TO BE LTSTEDl

           II.     SRC SERVICES
                                          EffectiPejor [Spring 2023 Academic Tenn]
           I.      Marketing and Creative Services:

                    (a) Serve as strategic hub providing guidance and support across the student experie nce from
           initial awareness to graduation and beyond, working with all external partners and internal SRC
           departments to drive shared KPis, uphold Institution brand standards, align messaging, and achieve
           strategic objectives and growth goals.
                    (b) Work with the Institution to build the promotional strategy, assets, and tools to drive
           increasing awareness for all relevant Educational Programs through a continual process of campaign
           development, testing, measurement, and optimization.
                    (c)     Develop market strategy recommendations and tactical considerations for the
           accomplishment of Institution's business and communication objectives, including with respect to Union
           employers.

                  (d) Strategies may include, but are not limited to: high-level messaging, website enhancements,
           program-specific marketing asset creation and campaign management, media plan recommendations, and
           marketing efficacy approaches (measurement and tracking considerations) to achieve the following:


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                   (i)      Creating and maintaining a connected Student and Institution experience;
                   (ii)     Upholding Institution standards and guidelines relating to marketing materials and
                   branding for the lnstitutioll'and the Services;
                   (iii)    Optimizing management and communications efficiency, effectiveness, and accuracy;
                   (iv)     Maximizing promotions to make them more impactful, more measurable, and
                   transparent;
                   (v)      Providing program promotion, marketing, and event management support;
                   (vi)     Enabling lead generation, enrollment, revenue forecasting, reporting, and optimization;
                   and
                   (vii)    Joint marketing plan: Develop with Institution an annual marketing plan, wh ich shall
                   incl ude among other things, the activities and requirements regarding the production of marketing
                   materials and other activities related to the promotion of educational programs. Institution has
                   final approval of all marketing templated materials where Institution is concerned.

           2.      Channel Management Services: Manage ex isting and newly developed Channel Partners,
           responsible for overseeing new partner on boarding and account management to drive shared KPis, uphold
           brand standards and achieve strategic objectives and growth goals. Serve as a point of contact and strategic
           lead on all Channel Partner relationships working directly with Marketing to optimize demand generation
           and keep the broader business informed and a ligned, to include:
                   (a) Strategy Development;
                   (b) Account Management; and
                   (c) Marketing & Promotional Strategy Optimization.

           3.       Enrollment Support Services
                    (a)      Enrollment Applications: Work with prospective students as they consider and apply to a
                    program. Support student to ensure a seamless application process.
                    (b)       Course Selection: Determine academic plan as determined by the requirements of the
                    Institution, including expected graduation date and a list of required courses. Assist the student in
                    registeri ng for the required courses.
                    (c)       Enrollment Documentation: Assist with documentation required for the program's
           acceptance. Once a student has submitted a completed admissions application package, route to
           Institution admissions office for review, which renders the final admission decision. Excludes Title IV
           Program financial aid packaging. Provide enrollment status to the Institution based upon agreed
           processes.
                    (d)      Transcripts: Requests all transcripts from any prior institutions that any prospective
           students have attended. The Institution is exclusively responsible for evaluating prior institutions and
           courses and making adm issions decisions in accordance with its standards.
                    (e)       High Touch Student Engagement: Monitor application deadline and acceptance offers.
           After acceptance by Institution , continue to support keeping the Student engaged until classes begi n, with
           a m.inimum of bi-weekly voice-to-voice contact being set as the expectation.
                    (f)       Ongoing Student Support: Work closely with the Student to ensure they enroll i n a
           program aligned with their long-term career goals. Work with Student to ensure a graduation plan that
           accurately outlines the courses they have completed or course equivalent (as determined by Institution) to
           work towards completion. Track and monitor Student completion and persistence.

                   (g)      Enrollment Management: [provide brief description]


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                   (h)     Retention Services: Work wi th Student as a retention advisor throughout the Student's
           Educational Program. Monitor and adjust Student graduation plan (completion plan and class schedule) as
           necessary. Assist Students in navigating the Institution's policies and procedures, focusing on student
           success and persistence.

           4.      Union Services
                      (a)    Proc.ess Union Vouchers: Assi:,;t Stu dents with completing and submitti ng required .
           education voucher forms to the academi c panner from their respective un ion.
                      (b)    Partner with corporations to upskill fro nt line workers: Analyze market trends and front-
           line worker sho1tages. In additi on, through SRC's direct outreach to un ion members to offer the S RC-
           affi liate programs at the discount or scholarship amounts to be mutually agreed Ltpon by the Institution
           and SRC.
                      (c)    U nion Tui tion Assistance Processing: Assist Students complete and submit any required
           form for those em ployed by companies offering tuition assistance or tuiti on reimbursement.

           5.      Career Development and Placement Services

                    (a)     Pre-Enrollment Guidance Counseling: Guide Students to apply to programs that align with
           their desired long-term goals.

                   (b)      Career Coaching: Student Journey career development support
                            (i) Developi ng career goals
                            (ii) Career options based o n Educational Program
                            (iii) Development of actionable placement goals
                            (vi) Resume workshop
                            (vii ) Networking action plan
                            (viii) Interviewing
                            (ix) Soft ski lls education

                    (c)   Placement Services: Leverage SRC union relationships and employer to identify
           placement oppott unities for Students en rolled in an Educational Program, including Programs with a field
           placement component. Work closely with faculty to identify and approve s ites that meet curriculum
           req uirements.

                   (d)    Post-graduation Coaching: Student meetings with career coach to guide them in p reparing
           a resume and applying to open roles. The objective is to assist Students with their career placement post-
           graduation.

           6.      Business Services
                    (a)      Course Capacity Planning: Establishing meaningful program capacity planning w ith
           Institution to forecast the number of sections to maintain a proper student-to-instructor ratio and on-time
           completion.
                    (b)      Business Analytics Services: Based on the Institution's determination of the type of
           information needed, provide business analytics to support the operational as well as academic
           departments of the Institution.
                    (c)      Assist Institu tion to create and design microcredentials to fulfill workforce shortages.

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                    (d)     Strategic planning: Provide strategic advice regarding the Institution's online offerings
           through strategies specific to attracting union members interested in online learning options. As the
           Institution provides insights into how on-campus students are supported along their journey, assist in
           filling gaps unique to online Students.
                    (e)     Section forecasting support: By reviewing historical enrollment nu mbers and the needs
           for a specific course, SRC provides the Institution with the number of sections by enrollment cycle
           needed based on the demand.
                    (f)     Market analysis and discrete population recommendations: Based on inquiry and inbound
           requests, identify additional online offerings not currently available through the Institution that meet the
           unmet needs of union members and suggest additional offerings by the Institution.
                    (g)     Budget planning: Assist in tJ1e development of preparing an annual budget including an
           estimate of anticipated enrolled Students, metrics associated with conversion/retention/persistence/stop
           outs, a projected income statement including an operational and capital expendi ture budget for the
           fo11hcoming academic year; a projected cash now statement on a semester basis; proj ected fees and
           revenues as well as collaborati on costs and ex penses incurred by the partners.
                    (h)     Financial reporting: Assist in the preparation and review of monthl y, quarterl y and annual
           financial statements, including balance sheet, income statement and cash now along with a budget to
           actual spend comparison, as set forth in this SOW, as available.
                    (i)     Services Presentatio n: Assist in preparing the financial presentation related to the
           Services as presented to the Institution's Board of Trustees.

             Notwithstanding anything to the contrary herein and.for the avoidance of doubt, SRC will not, at any
                                        time, perform any Core Acade111ic Functions.


                                             EXCLUDED SERVICES
           For the avoidance of any doubt, the Services shall not include any of the following and the following shall
           be ex pressly excluded from this SOW:


           General Administration and Record Keeping
              • Maintaining all academic and administrative records for Students who are enrolled in or seeking
                  enrollment in an Educational Program at the Institution.
              • Management of all general administrative and operational services re.lated to the Educational
                  Programs to include without limitation the following: (i) the provision of academic student services
                  and student completion, satisfaction and monitoring servit:es; (ii) fi nancial management services,
                  including student billing and financial aid services, Fee collection services, and other bursar
                  services; and (iii) general human resources and employee admi nistrati ve services and functions,
                  including assignment of staff, approval of leave and travel, and payroll services.

           Admissions, Credits, and Degree Requirements
              • Establis hment of standards for the admission of Students to the Educati onal Programs and
                  management of student admission and enrol lment services, inc luding final admissions decisions.
              • Setting the qualifications for the acceptance of transfer credit or the awarding of credit for prior or
                  experiential learning.
              • Establishment of procedures and requirements for the awarding of academic degrees and other
                  credentials to Students enrolled in the Educational Programs, and awardi ng, in accordance with

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                   such procedures, al l academic degrees and other credentials to such Students who have qualified to
                   receive them.

           Financial Aid Administration
              • Approval, awarding, certifying, originating, or disbursing Title lY Program funds,
              • Delivering Title IV Program credit balance refunds to Students, processing Return of Title IV
                  Program funds, or providing financial counseling and entrance and exit loan counseling,
              • Financial aid consulting, including fi nancial aid staffing, interim nianagement, processing support,
                  and/or development and maintenance of wrillen policies and procedures,
              • Preparing and/or submitting required reports, inc luding enrollment reporting to the National
                  Student Loan Data System, the Integrated Postsecondary Education Data System, or the Fiscal
                  Operations report,
              • Annual reconciliations of federal funds, preparing or disseminating required consumer information
                  disclosures, including general, campus crime, drug and alcohol prevention, graduation rates,
                  placement rates, and gai nful employment disclosures, or
              • Electronic storage and mai ntenance of Title IV Program-related records.

           Academic Decisions
              • Design, development and adoptio n of each Educational Program and the curricula and course
                 materials therefor, including approval of the courses to be offered and the nature and level of the
                 credit ascribed thereto.
              • Establishment for the Educational Programs of (i) the applicable standards, prerequisites,
                 req uirements, and measures o f student performance, (ii) the standards for the evaluation of the
                 performance of Students enrolled in such Educational Programs, and (iii) the processes for the
                 evaluation of such student performance.
              • Control over the number of sections for each Education Program. along w ith the number of
                 Students enrolled the Educational Programs and each section of the Educational Programs.

           Hiring
               • Each Party shall retain sole and excl usive right for the hi1i ng, terminating of any of its respective
                  personnel, including modifying the roles and responsibilities of such personal.
               • Implementation of standards for the appointment, supervision and evaluation of faculty and other
                  instructional staff for the Initiative and the Educational Programs and supervision and management
                  of s uch faculty and staff.

           Educational Approvals
               •   Procurement and maintenance o f all necessary Educational Approvals for the Educational
                   Programs and the locations at whic h the Educational Programs are offered.




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            II.    Services Agreement Decision-Making

           Primary Contacts: The Pm1ies shall each appoint a representative to be the primary contact for such Party.

                                      SRC Contact                                    Institution Contact
                    Name:                                              Name:
                    Email:                                             Email:
                    Phone:                                             Phone:



                                                        MANAGEMENT

           Representatives: The Parties will jointly appoint fou r (4) individuals, two (2) appointed by the Tnstitution
           (the "Institution Representatives") and two (2) appointed by SRC (the "SRC Representatives" and together
           with the Institution Representatives, the " Representatives"). The Parties initially appoint the following
           individuals:

                                 SRC Representatives                            Institution Representatives
                    Name:                                              Name:
                    Email:                                             Email:
                    Phone:                                             Phone:

                    Name:                                              Name:
                    Email:                                             Email:
                    Phone:                                             Phone:



           Each of the Parties may in its sole discretion remove and replace with or without cause any or all of its
           respective Representatives. Representatives may be an officer or employee of a Party or of an affiliate of a
           Party. Each Representative will serve until his or her successor is appointed by his or her respective Party,
           as applicable.

           Duties of the Representatives: Subject to any applicable requirements of the Tnstitution 's governing body,
           Educational Agency or Governmental Authority, and to the extent permitted by Law and Educational
           Laws, the Representatives will be responsi ble (subject to the tie-breaking votes described below) for:
               • Approving or modifying the Budget;
               • Resolution of any disputes between the Parties regarding the terms of the Agreement, including
                   Services; and
               • Acting upon any other matters which are expressly delegated to the Representatives by the
                   Agreement or otherwise in writing by the Parties.

           Resolution of Disputes: The Parties, through the Representatives, will use their best efforts to negotiate in
           good faith and settle any dispute or difference that may arise out of or re late to this Agreement. If the
           Parties arc unable to resolve any dispute through ordinary negotiations, the Party alleging the dispute, shall
           submit written Notice to the other Party and each of the Representati ves containing a written description of



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           the dispute (the "Dispute"). The Representatives wi ll have twenty (20) Bus iness Days follow ing recei pt of
           a Dispute Notice to negotiate in good faith to resolve the dispute, the following shall apply:

               1. The dispute shall be referred to the highest exeeuti ve officer of SRC and a person designated by
                  the Institution with similar authority. In that event, such officers of the Parties will have ten ( LO)
                  Business Days to resolve such dispute.
               2. If at the end of such period such officers are unable to resolve the dispute, or the Parties otherwise
                  agree that resolution of the dispute would be more likely to ocqir w ith the involvement of a
                  mediator, then the Parties will attempt in good fai th to select a qualified, independent mediator
                  reasonably acceptable to each Pai1y, who shall act as a mediator and not an arb itrator. Mediation
                  shall be conducted in such location as mutually agreed by the Dispute Resolution Representatives,
                  or if such agreement cannot be reached, Wilmington, Delaware. The cost of mediation shall be
                  shared equally by the Parties.



           111. Reporting Requirements
           At all times during the Term, the Institution shall deliver the fo l.lowing reports and information to SRC:

            Report                    Description                                                Frequency
            Financial Statements      Statemen ts of income and all related information          Monthly, to be de livered no
                                      reflecti ng the financial performance of the Serv ices     later than the 20'" day of the
                                      over the preceding month, calculated in accordance         month the period to which
                                      with GAAP.                                                 such report relates.

            Semester Fi11a11cial      A report reconci ling the revenue collected by the         With in th irty (30) Days of the
            Reco11ciliatio11 Report   Institution and Operating Expenses paid by the             end of each semester.
                                      Institution d uring such semester. The Semester
                                      Financ ial Reconci liation Report shall be calculated
                                      in accordance with GAAP.

            Year-End Financial        A report reconciling a ll revenue collected by the         Within sixty (60) clays
            Reco11ciliatio11 Report   Institution, Operating Expenses paid by the                immediately following the encl
                                      Institu tion and all resulting Su rplus calculations for   of each acacle1nic year.
                                      the full year. The Year-End Reconciliation Report
                                      shall be calculated in accordance with GAAP.

            Enrollment Reports        A report detailing certain anonymized stude nt             Daily, before I 0:00 am eastern
                                      enrolment numbers, by union, community or other            ti me.
                                      group, the value of financ ia l aid received for such
                                      Students, demographics, expected value
                                      contribution, fam ily salary information, Educational
                                      Program enrollment. and credit informat ion.

            Final E11roll111e11t       A report containing all information provided in           Within 30 days of the encl of
            Report                     Enrollment Reports for such semester and                  semester to which a ll prior
                                       reconc iliation of any inconsistenc ies, changes, or      Enrollment reports relate.
                                       updates.



           All reports should be submitted to:


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           Name: _ Aimee Leishure_ __

           Email:    aleishure@student-resource.or0°________

           Phone: _ 4 L0-350-4468,_ _ _ _ _ _ _ _ _ __

           Record Keeping

           Each party shall be responsible for maintaining full and accurate accounts and financial records with
           respect to its obligations under this agreement. ,

           The institution shall keep its records available, during all reasonable business hours during the Term of this
           Agreement, at its principal offices, or at such other location as required by applicable Laws and Educational
           Laws, for a udit, inspection and copying by SRC and Persons authorized by it or any Governmental
           Authority having jurisdiction over SRC.

           SRC shall be responsible for maintaining full and accurate accounts and records of the Services and
           activities controlled by SRC (the "SRC Controlled Accounts and Records"). SRC shall keep such SRC
           Controlled Records available, during all reasonable business hours during the Tenn of this Agreement, at
           its principal offices, or at such other location as required by applicable Laws and Educational Laws, for
           audit, inspection and copying by the lnstitution and Persons authorized by it or any Governmental
           Authority or Educational Agency having jurisdiction over the Institution.

           Audit Rights
           The Jnstitution or SRC shall have the right, upon reasonable written notice to audit, or have its agi::nts or
           representatives audit, subject to such confidentiality requirements as may reasonably be imposed by the
           Institu tion/SRC and supporting documents and materials in the possession of or under the control of the
           Institution/SRC with respect to such matters related to this agreement, at the place or places where such
           records are normall y retained by the Jnsti tuti on/SRC. SRC/Tnstitulion, or its agen ts and representatives,
           shall have free and full access thereto during normal busi ness hours for such purposes and shall be
           permitted to make copies thereof and extracts therefrom.

           In the case of a dispute as a result of such audit over amounts due under this Agreement by one Party to
           the other Party, the dispute resolution procedures set forth in the hereof shall consult together with a view
           to resolving the dispu te. If the dispute is not resolved within thirty (30) days, either Party may seek
           resolution in accordance with the terms of this SOW.




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           III.    BUDGET
           [MODEL TO BE ATTACHED]


           Annual Budget. The budget for the period commencing on the Effective Date and endi ng June 30th shall
           be as set forth in the economic model developed jointly by the Institution and SRC (the "Initial Budget').
           The Parties acknowledge that the Initial Budget is not intended to be final or binding on the Parties for
           any time period beyond the time period set forth therein. The respective Management Fee for each party
           in the Initial Budget shall be 25 % of net revenues (e.g. following deduction of instructional expenses).
           Accordi ngly, the Parties shall work together in good faith to revise, adjust, or amend the Irtitial Budget as
           conditions warrant. The revised budget for each period during the Term lasting from July I through June
           30 (the "Annual Budget") wi ll include the following:

                            (a)    a projected income statement including an operational and capital expenditure
           budgets for the forthcoming academic year;

                            (b)     a projected cash flow statement on a semester basis;

                            (c)    projected student enrollment numbers for each Educational Program and other
           additional data reasonably necessary for budgetary planning purposes (collectively, the "Enrollment
           Data").

                            (d)     projected Fees and Revenues as more fully set forth in the economic model;

                            (e)   projected costs and expenses incurred by the Parties including the SRC and the
           Institution Management Fees, which the parties may agree to modify based on their experience with the
           Initial Budget; and

                            (t)     such other items reasonably requested by either Party.

           Management Fee. For avoidance of doubt, the Management Fee represents an allocation of reven ues
           from the Operating Account as reimbursement for expenses incurred by each Party in the amount of 25%
           of net revenues (e.g. followi ng deduction of instructional expenses), payment of which will be accounted
           for in any revenue share true up as provided in Section IV.

           Annual Budget Approval Process. At least one hundred and twenty ( 120) days before the beginni ng of
           each academic year, the institution will provide SRC with projected Student Enrollment Data for each
           Educational Program and projected Fees for the fo llowing academic year. The Pai1ies will then consult
           and negotiate with each other in good faith and use theis reasonable best efforts to mutually agree upon
           an A nnual Budget for the following academic year. If the Parties are unable to mutuall y agree upon an
           Annual Budget on or before the date that is sixty (60) days (the "Annual Budget Approval Date") prior
           to the commencement of the following academic year, then the Annual Budget in effect on the Annual
           Budget Approval Date shall be the Annual Budget for the follow ing academic year unti l such time as the
           Member Paities mutuall y agree to a new Annual Budget.

           Three Year Forecast. On the date that the Parties agree to each Annual Budget, the Parties will mutually
           agree upon a projected Annual Budget for the two (2) academic years following the academ ic year for the


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           then current Annual Budget. The projected budgets shall be for planning purposes only and shall have no
           binding effect on subsequent budget plans.




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           JV.       FEES AND EXPENSES
           Operating Accou11t: All funds collected by the Institution that are related to SRC bu ndled Student
           enrollment, including without limitation, all fees, tuitio n, scholarship funding, state subsidies and corporate
           contributi ons shall be immediately deposited into a depository account that is maintained by the Institution
           (the "Institution Operating Account") upon receipt thereof. All Operating Expenses (as defined herein) and
           any Surplus owed lo SRC in accordance with the terms and condi tions of this Statement of Work shall be
           paid from the funds in the Institution Operating Accou nt.

           SRC shall not be permitted access to the Institution Operating Account, nor shall SRC have any
           responsibility to monitor the Institution Operating Account. Notwithstanding the foregoing, nothing herein
           shall prohibit SRC from receiving or relieve the Institution from deli very certain information relating to the
           Operating Account contained in the reports required to be delivered under this Statement of Work, and the
           Institution shall be required to maintain a separate accounting of all funds within in the Institution Operating
           that have been deposited or w ithdrawn therefrom in accordance w ith this Statement of Work (the "Joint
           Funds"). A ll funds maintained in the Institution Operating Account other than the Joint Funds shall remain
           the sole and exclusive property of the Institution, provided, however, that the Institution shall not offer any
           portion of the Joint Funds, nor any proceeds therefrom as security to any third -party without the prior
           written consent of SRC.

           Payments:

                 •   Bi-Monthly: The Institution is responsible for maintaining funds arising from Students' enrollment.
                     All expenses will be paid from these funds as due. The Institution shall pay SRC the agreed-upon
                     management fee, which was approved in the Annual Budget, if one was established.

                 •   Monthly: Any remaini ng surplus (a "Monthly Surplus") w ill be distributed in equal distributions
                     (50% to Institution and 50% to SRC) with a rolling monthly true-up calculation.

                 •   Semester: If there is a surplus of fu nds (a "Semester Surplus" and together with each Monthly
                     Surplus, the "Surplus") remaining after semester reconciliation (as evidenced by in the
                     Reconciliation Report), the Institution w ill distribute the Surplus from the Operating Account as
                     follows: 50% to SRC and 50% to the Institution. This surplus must be distributed within thirty (30)
                     days after each full semester (Fall, Spring & Summer).

                 •   Annual: Based on the Year-End Financial Reconciliation Report, the lnstitution shall effect a "true-
                     up" of all Surplus payments over the year just-ended. Any payments made by the Institution to
                     SRC, or by SRC to the Institution pursuant to the foregoing (the Party required to make any such
                     "true up" payment as a result of such Year-End Reconciliation or following the dispute resolution
                     process under Section 11 below being referred to as the " Paying Party") shall be made within fifteen
                     (LS) Days' fo llowing the date upon whi ch the Year-End Reconciliation is received. Shou ld there
                     not be sufficient funds to cover operational expenses, losses will be shared equally between the
                     Institution and SRC.

           Objections and Limitations on Payment:


                 •   Upon receipt of a Semester Financial Reconciliation Report or Year-End Financial Reconciliation
                     Report, as the case may be, SRC shall have thirty (30) Days to object to the information and
                     calculations set forth therein by delivering written notice of such objection thereof, together with

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                  reasonable supporti ng information regarding such objections (a "Reconciliatio n Objection
                  Notice"). If the Pa1ties cannot resolve the disputed items during such 30-Day period, the Parti es
                  shall submit such dispute to the Representatives for resol ution. If the Representatives cannot
                  resolve the dispute w ithin the time periods prescri bed in this SOW, the Parties shall engage a
                  mulually agreeable independent third-party accountants (the "Independent Accountant") to resolve
                  such dispute. The decision of the Independent Accountant shall be final and binding on the Parties.
                  All fees, costs, and expenses of the Independent Accountant shall be paid 50% by each Party.

              •   All normal and custom ary operating expenses incurred in furtherance of the Services, including but
                  not limited to, costs and expenses relating to Services, to the extent set forth in the Budget
                  (collectively "Operating Expenses") shall be paid out of the Operating Account. Each Party shall
                  be responsible for the payment of all expenses incurred by such Party that are not set fo1th in the
                  Initial Budget or Ann ual Budget.




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                  IN WITNESS WHEREOF, the Parties have executed this Agreement as of the Effective Date.



                                                       STIJDENT RESOURCE CENTER

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                                                                          /
                                                                                    -
                                                              PhiHip--Braithwaite
                                                       Title: CEO. SRC




                                                       WILLIAM WOODS UNIVERSITY



                                                       By:
                                                       Name: Jeremy More land, Ph.D.
                                                       Title: President, William Woods University




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